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        EXHIBIT A
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                       AMERICAN ARBITRATION ASSOCIATION

 AMERICAN INCOME LIFE                              AAA CASE NO.: 01-23-0002-6899
 INSURANCE COMPANY,

        Claimant,
                                                   SUBPOENA TO PRODUCE
 vs.                                               DOCUMENTS

 VALENTINO KALAJ and
 CARL GRETZ,

        Respondents.


                         SUBPOENA TO PRODUCE DOCUMENTS

TO:    FFL Onyx, LLC

       SERVE:          ZenBusiness, Inc., as its registered agent
                       336 E. College Ave.
                       Suite 301
                       Tallahassee, FL 32301


       By the authority of the undersigned pursuant to Section 7 of the Federal Arbitration Act
(9 U.S.C. § 7 (“Section 7”)), and on behalf of the arbitration tribunal (the “Arbitration Tribunal”)
in the above-captioned arbitration, pending before the American Arbitration Association in
Michigan, YOU ARE COMMANDED to produce and permit the inspection and copying of the
documents or objects identified in the attached Exhibit A at the place, date and time specified
below:

       Place for Physical Production/Mailing Address:

               Husch Blackwell, LLP
               8001 Forsyth Blvd
               Suite 1500
               St. Louis, MO 63105


       For Electronic/Virtual Production:

               gregg.sofer@huschblackwell.com, david.sobelman@huschblackwell.com,
               melissa.baris@huschblackwell.com, and jason.fathallah@huschblackwell.com
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       With a courtesy copy of any response and production to be made to:

       Mark C. Rossman
       ROSSMAN, P.C.
       2145 Crooks Road, Suite 220
       Troy, Michigan 48084
       mark@rossmanpc.com



Date & Time: November 20, 2023.

       If you refuse or neglect to obey this SUMMONS, the United States District Court for the
Eastern District of Michigan, upon petition, may compel your attendance, or punish you for
contempt in the same manner provided by law in the United States courts. See 9 U.S.C. § 7.

        You may address questions concerning this SUMMONS to the attorneys identified below
who requested this SUMMONS. Any application by you to challenge or modify this SUMMONS
in whole or in part should be addressed to the Arbitral Tribunal in writing, with copies to counsel
for the parties, except that a motion upon the ground that the SUMMONS is unenforceable under
Section 7 may also be addressed to the United States District Court for the Eastern District of
Michigan.

The attorneys requesting this subpoena are:

Husch Blackwell, LLP
Gregg Sofer, gregg.sofer@huschblackwell.com, (202) 378-2383
David Sobelman, david.sobelman@huschblackwell.com, (314) 480-1500
Melissa Baris, melissa.baris@huschblackwell.com, (314) 480-1500
Jason Fathallah, Jason.fathallah@huschblackwell.com, (414) 978-5502


DATED: November ___, 2023


                                                     __________________________________
                                                     Name: Donald Gasiorek
                                                     Arbitrator




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                                           EXHIBIT A

                           DEFINITIONS AND INSTRUCTIONS

       1.      Wherever the term “Document,” “Documents,” “document” or “documents” is
   used, it shall be defined to be synonymous in meaning and equal in scope to the usage of the
   term “document or electronically stored information” in FED. R. CIV. P. 34(a)(1)(A), which
   includes, but is not limited to, correspondence, memoranda (internal or otherwise), facsimiles,
   recordings of any type, notes (whether typed or handwritten), transcripts, contracts, diaries,
   calendars, brochures, logs, statements, notices, computer data or discs, records, agreements,
   telexes, texts, instant messages, e-mails, reports, studies, books or records of account, bank
   account records, checks, invoices, ledgers, outlines, summaries, communications, drafts and/or
   non-identical or similar copies of any or more of the foregoing, whether in paper form or any
   electronic form whatsoever, however denominated and by whomever prepared and to
   whomever addressed.

       2.      The term “Communication,” “Communications,” “communication,” or
   “communications,” shall include any oral or written discussions, conversations, memoranda,
   correspondence or other documents in which information was conveyed from one person to
   another, including any computer or electronically generated matter or information of any kind,
   whether or not currently existing in printed form, including that generated by electronic mail
   system, text, instant messaging or otherwise, and including any video or oral recordings of
   same.

       3.      Whenever the phrase “relate to,” “relates to,” “related to,” “relating to,”
   “concerning,” or “regarding” is used herein, it shall mean consist of, refer to, reflect on, arise
   out of, or be in any way or manner legally, factually, or logically connected with the matter
   discussed.

       4.     The term “person” or “persons” shall include natural persons, firms, partnerships,
   associations, joint ventures, corporations, agencies, boards, authorities, commissions, and any
   other form of legal entity.

      5.      The words “and” and “or” shall be construed conjunctively or disjunctively as is
   necessary to make the request inclusive rather than exclusive.

       6.     “Each” shall be construed to include “every” and “every” shall be construed to
   include “each.”

       7.     “Any” shall be construed to include the word “all” and “all” shall be construed to
   include the word “any.”

       8.     As used herein, a verb in any tense shall be construed as the use of the verb in all
   other tenses, wherever necessary to bring within the scope of the request all documents which
   might otherwise be construed to be outside its scope.



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       9.      As used herein, a plural noun shall be construed as a singular noun and a singular
   noun shall be construed as a plural noun, whichever is necessary to bring within the scope of
   the request all responses which might otherwise be construed to be outside its scope.

        10.    The term “AIL” refers to American Income Life Insurance Company, and any of
   its representatives, agents, employees, officers, directors, and all other persons presently or
   previously acting or purporting to act on their behalf.

       11.     The term “FFL” refers to Family First Life, LLC and each of its present and former
   agents, agencies, servants, officers, directors, members, employees, independent contractors,
   affiliated companies, affiliated entities, predecessors, partners, attorneys, insurers, reinsurers,
   sureties, executors, administrators, trustees, successors, assigns, affiliated independent
   contractor insurance agents, affiliated independent marketing organizations (“IMOs”), and
   affiliated agencies, including without limitation FFL Operation Liberation, FFL Onyx, FFL
   Metamorphosis, Orbix, FFL Great Lakes, FFL Tri-State, Tri-State Financial, FFL Capital, FFL
   Sapphire, Risen Financial, FFL Big Sky, FFL Conglomerate, FFL Invictus, FFL Insurgence,
   and FFL Associates.

       12.     The term “FFL Onyx” refers to FFL Onyx LLC, a limited liability company
   organized under Florida law, and each of its present and former agencies, servants, officers,
   directors, members, employees, independent contractors, affiliated companies, affiliated
   entities, predecessors, partners, attorneys, insurers, reinsurers, sureties, executors,
   administrators, trustees, successors, assigns, affiliated individuals, affiliated agencies, and
   agents, including Elton Yaldo and Valentino Kalaj.

       13.     The term “MR Financial” refers to MR Financial Group LLC, a limited liability
   company organized under Michigan law, and each of its present and former agencies, servants,
   officers, directors, members, employees, independent contractors, affiliated companies,
   affiliated entities, predecessors, partners, attorneys, insurers, reinsurers, sureties, executors,
   administrators, trustees, successors, assigns, affiliated individuals, affiliated agencies, and
   agents, including Mohamad Raychouni.

       14.      The term “FFL Operation Liberation” refers to FFL Operation Liberation, and each
   of its present and former agencies, servants, officers, directors, members, employees,
   independent contractors, affiliated companies, affiliated entities, predecessors, partners,
   attorneys, insurers, reinsurers, sureties, executors, administrators, trustees, successors, assigns,
   affiliated individuals, affiliated agencies, and agents, including Mohamad Raychouni.

       15.     The term “FFL Tri-State” refers to Tri-State Financial Services, Inc., with its
   principal place of business at 120 Eagle Rock Ave, Suite 210, East Hanover, NJ 07936, and/or
   Family First Life Tri-State, and each of its present and former agencies, servants, officers,
   directors, members, employees, independent contractors, affiliated companies, affiliated
   entities, predecessors, partners, attorneys, insurers, reinsurers, sureties, executors,
   administrators, trustees, successors, assigns, affiliated individuals, affiliated agencies, and
   agents, including Marc Meade.



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       16.    The term “FFL Metamorphosis” refers to FFL Metamorphosis, and each of its
   present and former agencies, servants, officers, directors, members, employees, independent
   contractors, affiliated companies, affiliated entities, predecessors, partners, attorneys, insurers,
   reinsurers, sureties, executors, administrators, trustees, successors, assigns, affiliated
   individuals, affiliated agencies, and agents, including Mohamad Raychouni and Kayla Rojo.

       17.     The term “Orbix” refers to Orbix LLC, a limited liability company organized under
   Michigan law, and each of its present and former agencies, servants, officers, directors,
   members, employees, independent contractors, affiliated companies, affiliated entities,
   predecessors, partners, attorneys, insurers, reinsurers, sureties, executors, administrators,
   trustees, successors, assigns, affiliated individuals, affiliated agencies, and agents, including
   Mohamad (“Mike”) Hamade.

       18.     The term “Integrity” refers to Integrity Marketing Group, LLC, and each of its
   present and former agents, agencies, servants, officers, directors, members, employees,
   independent contractors, affiliated companies, affiliated entities, predecessors, partners,
   attorneys, insurers, reinsurers, sureties, executors, administrators, trustees, successors, and
   assigns.

      19.     The term “Risen” refers to Risen Financial, and any of its representatives, agents,
   employees, officers, directors, partners, and all other persons presently or previously acting or
   purporting to act on their behalf, including but not limited to Zach Hart.

      20.    The term “Arbitration” means the above-captioned arbitration proceeding, AAA
   Case No. 01-23-0002-6899, pursuant to which this subpoena is issued.

       21.     These requests are deemed to be continuing in nature. In the event any information,
   documents or materials come to your attention or come into your possession, custody, or
   control after the filing of your responses hereto, which are within the scope of any request
   made herein, said additional information, documents, or materials shall be furnished promptly
   by you to AIL’s attorneys.

       22.     In the event that you learn that your responses to any request herein are in some
   material respect incomplete or incorrect, and if the additional or corrective information has not
   otherwise been made known to AIL, you shall promptly amend such prior responses.

       23.     If any of the documents requested contain information that you in good faith assert
   is protected from disclosure by statute or common law or contains commercially sensitive
   information, including but not limited to confidential policyholder information, trade secrets,
   personnel records, or such other sensitive commercial information that is not publicly
   available, then you may designate such documents as “CONFIDENTIAL,” by marking each
   page of the material with a CONFIDENTIAL stamp or designating an electronic file as
   CONFIDENTIAL, and such CONFIDENTIAL materials will be covered by the Protective
   Order to be entered in this Arbitration proceeding.




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       24.     If you refuse to answer any request in whole or in part, then state the grounds for
   such refusal, including any claim of privilege or any claim of immunity from disclosure. If any
   claim is made that any information requested is privileged or constitutes attorney’s work
   product and such information is not provided, in lieu of each such response a written statement
   or privilege log is to be given that describes the factual basis of the purported privilege or claim
   of work product in sufficient detail so as to permit the adjudication of the validity of the claim.

       25.    If any request is objected to as being vague or overbroad, then any information
   which you reasonably believe is within the scope of the request should be divulged, and your
   objection should specify what is otherwise vague or overbroad about the request.

       26.     If you are aware of a document that is responsive to any of these requests and claim
   that you do not have possession or control of the document, then: (a) identify the type of
   document (e.g., memorandum or letter); (b) identify the date of the document; (c) identify the
   person(s) responsible for creating and/or sending the document and the person(s) who received
   the document; (d) state, in detail, the contents of the document; and (e) identify the person(s)
   or entity currently or last known to be in possession of the document.

       27.     If any document requested is no longer in your possession or control or is no longer
   in existence, then state whether it is: (a) missing or lost; (b) destroyed; (c) transferred
   voluntarily or involuntarily to others, and, if so, to whom; or (d) otherwise disposed of, and in
   each instance explain the circumstances surrounding such disposition, state the approximate
   date of the disposition and describe the contents of the document.

       28.    This subpoena may be satisfied by producing copies via secure transmittal to
   AIL’s        counsel     of       record     at      gregg.sofer@huschblackwell.com,
   david.sobelman@huschblackwell.com,         melissa.baris@huschblackwell.com,       and
   jason.fathallah@huschblackwell.com, or, if necessary, mailing copies to the offices of:
   Husch Blackwell, LLP, 8001 Forsyth Blvd, Suite 1500, St. Louis, MO 63105, or by
   different place or method established by mutual agreement of you and AIL.

      29.    You must produce documents as they are kept in the usual course of business or
   must organize and label them to correspond to the categories in the request.

       30.    You shall produce paper documents (i.e., those documents not kept electronically
   by you in the ordinary course of business) as single-page, Group IV, 300 DPI TIFF images
   with an image load file (.OPT file and .LFP file) and a delimited database load file (.DAT).
   Multi-page Optical Character Recognition (“OCR”) text for each document should be
   provided. The OCR software should maximize text quality over process speed. Settings such
   as “auto-skewing” and “auto-rotation” should be turned on during the OCR process. The
   documents should be logically unitized (i.e., distinct documents should not be merged into a
   single record, and a single document should not be split into multiple records). The text and
   image load files should indicate page breaks. If an original document contains color necessary
   to understand the meaning or content of the document, the document should be produced as
   single-page, 300 DPI, 24-bit color JPG images with the quality setting 75% or higher. This
   includes, but is not limited to, color on graphs, charts, presentations, edits, or highlights that

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   were made by hand, or electronically, on the original. Each TIFF page of a paper document
   should contain a Bates number.

       31.      Electronically stored information (ESI) and the database load file for both paper
   documents and for ESI shall be produced in accordance with the format and with the fields as
   set forth in the ESI case management order served upon you.

       32.     Unless otherwise stated or fairly implied by the context, each request shall be
   considered to request responsive documents dated, prepared during, or in effect or applicable
   during the time period September 1, 2021 to the present.

                                  DOCUMENT REQUESTS

      1.      Documents that reflect a list or identity of all policyholders to whom Valentino

   Kalaj, and/or any agents working or associated with Valentino Kalaj (including but not limited

   to Mohamad Raychouni and Elton Yaldo), have sold any policy of insurance, including the

   policyholders’ names and addresses, the issuing insurers, dates of sale, selling agent, premiums

   received, and commissions or other compensation paid.

      2.      Documents that reflect a list or identity of all agents working within Valentino

   Kalaj’s hierarchy (upline and downline) and/or coded to Valentino Kalaj during the time period

   September 1, 2021 to the present.

      3.      Documents that reflect a list or identity of all policyholders to whom any person

   working within Valentino Kalaj’s hierarchy (upline and downline) and/or coded to Valentino

   Kalaj has sold any policy of insurance, including the policyholders’ names and addresses, the

   issuing insurers, dates of sale, selling agent, premiums received, and commissions or other

   compensation paid.

      4.      Documents that reflect a list or identity of all individuals working for or with or

   otherwise associated with FFL Onyx during the time period September 1, 2021 to the present.

      5.      Documents that reflect a list or identity of all policyholders to whom any agent

   working for or with or otherwise associated with FFL Onyx has sold any policy of insurance,

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   including the policyholders’ names and addresses, the issuing insurers, dates of sale, selling

   agent, premiums received, and commissions or other compensation paid.

      6.      Documents that reflect a list or identity of all policyholders with respect to whom

   Valentino Kalaj or Elton Yaldo has received any form of compensation, commission, bonus,

   or other payment, whether received directly or indirectly (including, without limitation,

   policyholders for whom Valentino Kalaj or Elton Yaldo has received compensation,

   commission, bonus, or other payment through the sale of a policy by an agent in his hierarchy

   or coded to him), including the policyholders’ names and addresses, the issuing insurers, dates

   of sale, selling agent, premiums received, and commissions or other compensation paid.

      7.      All documents and communications reflecting or relating to any form of

   compensation, commission, bonus, reimbursement, or other payment made by FFL Onyx

   (including but not limited to payments related to sale of policies by FFL Onyx agents) to

   Valentino Kalaj, Mohamad Raychouni, Marc Meade, FFL, Integrity, FFL Onyx, MR

   Financial, FFL Operation Liberation, FFL Tri-State, FFL Metamorphosis, Orbix, Mohamad

   Ali (“Mike”) Hamade, Carl Gretz, and/or Elton Yaldo.

      8.      All documents and communications reflecting or relating to any form of

   compensation, commission, bonus, reimbursement or other payment received by FFL Onyx

   from any source (including but not limited to any insurance carrier, FFL, Integrity, Valentino

   Kalaj, Mohamad Raychouni, Marc Meade, FFL Onyx, MR Financial, FFL Operation

   Liberation, FFL Tri-State, FFL Metamorphosis, Orbix, Elton Yaldo, Mohamad Ali (“Mike”)

   Hamade, and/or any other person or entity), whether directly or indirectly, based on insurance

   policies sold by Valentino Kalaj and/or any agents working or associated with him or in his

   hierarchy or coded to him, including but not limited to Mohamad Raychouni and Elton Yaldo.



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      9.      All documents and communications reflecting or relating to any form of

   compensation, commission, bonus, reimbursement, or other payment made to Valentino Kalaj

   by any person or any entity (including but not limited to Mohamad Raychouni, Marc Meade,

   Mohamad (“Mike”) Hamade, Elton Yaldo, FFL, FFL Onyx, MR Financial, FFL Operation

   Liberation, FFL Tri-State, FFL Metamorphosis, Orbix, and Integrity) based on insurance

   policies sold by Valentino Kalaj and/or any agents working or associated with him or in his

   hierarchy or coded to him, including but not limited to Mohamad Raychouni and Elton Yaldo.

      10.     All documents and communications reflecting or relating to any form of

   compensation, commission, bonus, reimbursement, or other payment received by any

   individual or entity other than Valentino Kalaj (including but not limited to Mohamad

   Raychouni, Elton Yaldo, Marc Meade, Mohamad Ali (“Mike”) Hamade, FFL, FFL Onyx, MR

   Financial, FFL Operation Liberation, FFL Tri-State, FFL Metamorphosis, Orbix and/or

   Integrity), whether directly or indirectly, based on insurance policies sold by Valentino Kalaj

   or agents working or associated with Valentino Kalaj or in his hierarchy or coded to him.

      11.     All documents and communications referring or relating to pooling of sales of

   insurance policies by two or more agents working or associated with FFL Onyx or Valentino

   Kalaj or in his hierarchy or coded to him.

      12.     All documents and communications between and/or among FFL Onyx and Marc

   Meade and/or FFL Tri-State.

      13.     All documents and communications between and/or among FFL Onyx and

   Mohamad Raychouni, FFL Operation Liberation, and/or MR Financial.

      14.     All documents and communications between and/or among FFL Onyx and Orbix

   and/or Mohamad (“Mike”) Hamade.



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      15.       With respect to each of the following agents, provide (1) a list of all policyholders

   to whom the agent sold any policy, (2) documents reflecting or relating to any form of

   compensation, commission, bonus, reimbursement, or other payment paid to such persons by

   FFL, FFL Onyx, MR Financial, FFL Operation Liberation, FFL Tri-State, FFL

   Metamorphosis, or Orbix; and (3) documents reflecting or relating to any form of

   compensation, commission, bonus, reimbursement, or other payment received by FFL, FFL

   Onyx, MR Financial, FFL Operation Liberation, FFL Tri-State, FFL Metamorphosis, Orbix,

   Mohamad Raychouni, Marc Meade, Elton Yaldo, Mohamad (“Mike”) Hamade or Valentino

   Kalaj related to insurance policies sold by such agent:

               Besim Nikaj

               Brandon Dusevic

               Jerome (“Jerry”) Benenati

               Andrew Callaghan

               Alexander (“Alex”) Bennage

               Adam Chesney

               Morad Ahmed

               Carl Gretz

               Christian Ramaj

               Rod Akmed

               Fayaz Barrak

               Anton Ljuljdjuraj

               Andre Bzhetaj

               Mitchell Gralewski


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            Dhruv Sachdeva (a/k/a Drew Scott)

            Shady Abdeljaber

            Ahmad (“Jake”) Zayat

            Christopher Roosa

            Elton Yaldo

            Mohamad Ali Hamade (a/k/a Mike Hamade)

            Silvar Afram

            Ali Bazzi

            Dimo Joannidis

            John Gjokaj

            Nick Gojcaj

            Christian Gojcaj

            Joseph Gojcaj

            Hussain Hamid

            Mahdi Dergham

            Irshad Abdulmajeed

            Steven Phillips

            Benzack (“Ben”) Cooper

            Francesco Cusumano

            Mohammad Kameledinne

            Andrew Bajeu

            Gianni Arvanitis

            Yousif Hassan

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            Yeahiya Hossain

            Rabih Hamka

            Steven Halm

            Andy Burton

            Donna White

            Matt Roebke

            Victor Kalaj

            Chad Johnson

            Faith Payne

            Moe Saad (or Moe Sobh)

            Anthony Saado

            Chris Gilbert

            Dawson Neuner

            Sam Chehab (a/k/a Hussein Sam Chehab)

            Salam Badri

            Simon Attisha

            Ahmed Kassem

            Timur Avanesian

            Julian Dickenson

            John Shea

            Marc Albo

            Peter Butrus

            Kyle Abraham

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                Brenden Lewis

                Maria Berishaj

                Blake Jerrin (or Jerrin Blake)

                Kayla Rojo

                Dominic Goreyoka

                Donovan Isho

                Martin Asknder

                Ismael Tahan

       16.       All documents and communications reflecting, relating to, or referring to current or

   former AIL agents that are currently or were formerly affiliated with FFL Onyx.

       17.       All documents and communications reflecting, relating to, or referring to

   recruitment of AIL agents.

       18.       All documents and communications reflecting, relating to, or referring to (1) any

   policyholder information or leads that the following individuals or entities provided, sold, or

   brought to FFL Onyx or (2) any source(s) of leads provided, accessed, or used by the following

   individuals or entities:

                Valentino Kalaj and/or any agents working or associated with him or in his

                 hierarchy or coded to him

                Elton Yaldo and/or any agents working or associated with him or in his hierarchy

                 or coded to him

                Mohamad Raychouni and/or any agents working or associated with him or in his

                 hierarchy or coded to him




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               Mohamad (“Mike”) Hamade and/or any agents working or associated with him or

                in his hierarchy or coded to him

               Brandon Dusevic and/or any agents working or associated with him or in his

                hierarchy or coded to him

               Carl Gretz and/or any agents working or associated with him or in his hierarchy or

                coded to him

               Any other current or former AIL agent not named above

      19.       All documents and communications reflecting, relating to, or referring to any

   communications by any current, former, and/or prospective AIL policyholders regarding FFL

   Onyx and/or Valentino Kalaj and/or any agents working or associated with Valentino Kalaj or

   in his hierarchy or coded to him, including but not limited to Mohamad Raychouni and Elton

   Yaldo.

      20.       All documents and communications relating to, referring to, or discussing any

   investigation or inquiry by any State’s Department of Insurance (or similar regulatory body)

   regarding any agent working with or associated with FFL Onyx, FFL Operation Liberation,

   MR Financial, FFL Metamorphosis, Orbix, and/or FFL Tri-State, including but not limited to

   Valentino Kalaj, Elton Yaldo, Mohamad Raychouni, Carl Gretz, Mohamad (“Mike”) Hamade,

   or Dhruv Sachdeva.

      21.       All documents and communications reflecting, relating to, or referring to any

   complaints by any current, former, and/or prospective AIL policyholders regarding any agents

   working or associated with FFL Onyx.




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      22.      All communications (including but not limited to e-mails and text messages) from

   FFL Onyx or anyone associated with or working with FFL Onyx, to any current or former AIL

   policyholder.

      23.      All documents and communications reflecting, relating to, or referring to any

   current or former AIL policyholder(s) that any agent working for or with or otherwise

   associated with FFL Onyx has solicited or sold a policy of insurance to.

      24.      All documents and communications reflecting, relating to, or referring to any

   replacement of any AIL policy by any agent working for or with or otherwise associated with

   FFL Onyx.

      25.      All documents and communications reflecting or relating to FFL Onyx’s policies,

   procedures, instructions and guidelines regarding replacements or cancellations of insurance

   policies issued by other carriers, including any training materials relating to same.

      26.      All documents and communications reflecting, relating to, or referring to any

   person’s obtaining access to or use of AIL policyholder applications, AIL policyholder

   information, and/or AIL-generated leads.

      27.      All documents and communications reflecting, relating to, or referring to the

   acquisition, purchase, sale, access or use of any AIL policyholder applications, AIL

   policyholder information, and/or AIL-generated leads by any individual or entity.

      28.      All documents and communications reflecting, relating to, or referring to the

   provision of AIL policyholder applications, AIL policyholder information, and/or AIL-

   generated leads by or to any person.




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      29.       All documents and communications reflecting, relating to, or referring to the

   payment of any money to any person to secure access to AIL policyholder applications, AIL

   policyholder information, and/or AIL-generated leads.

      30.       All documents and communications reflecting, relating to, or referring to the

   payment of any money to any person to secure credentials, logins, or any other access to any

   computer system of AIL or any AIL-affiliated system.

      31.       All contracts or agreements between FFL Onyx and the following individuals:

               Valentino Kalaj

               Mohamad Raychouni

               Elton Yaldo

               Carl Gretz

               Marc Meade

               Mohamad (“Mike”) Hamade

      32.       All communications between FFL Onyx and any other person or entity (including

   but not limited to FFL, Integrity, Valentino Kalaj, Mohamad Raychouni, Mohamad (“Mike”)

   Hamade, Marc Meade, Zac Twardowski, MR Financial, FFL Operation Liberation, FFL Tri-

   State, FFL Metamorphosis, Orbix, or Risen) discussing, referring to, or relating to Valentino

   Kalaj.

      33.       All communications between FFL Onyx and any other person or entity (including

   but not limited to FFL, Integrity, Valentino Kalaj, Mohamad Raychouni, Mohamad (“Mike”)

   Hamade, Marc Meade, Zac Twardowski, MR Financial, FFL Operation Liberation, FFL Tri-

   State, FFL Metamorphosis, Orbix, or Risen) discussing, referring to, or relating to Mohamed

   Raychouni, FFL Operation Liberation, MR Financial, or FFL Metamorphosis.


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      34.       All communications between FFL Onyx and any other person or entity (including

   but not limited to FFL, Integrity, Valentino Kalaj, Mohamad Raychouni, Mohamad (“Mike”)

   Hamade, Marc Meade, Zac Twardowski, MR Financial, FFL Operation Liberation, FFL Tri-

   State, FFL Metamorphosis, Orbix, or Risen) discussing, referring to, or relating to Mohamed

   (“Mike”) Hamade or Orbix.

      35.       All communications between FFL Onyx and any other person or entity (including

   but not limited to FFL, Integrity, Valentino Kalaj, Mohamad Raychouni, Mohamad (“Mike”)

   Hamade, Marc Meade, Zac Twardowski, MR Financial, FFL Operation Liberation, FFL Tri-

   State, FFL Metamorphosis, Orbix, or Risen) discussing, referring to, or relating to Carl Gretz.

      36.       All communications between FFL Onyx and Carl Gretz.

      37.       All documents and communications referring to or relating to any relationship or

   business dealings between FFL Onyx and the following persons and/or entities, including the

   termination of any such relationship:

               Integrity

               FFL

               MR Financial

               FFL Operation Liberation

               Mohamad Raychouni

               Elton Yaldo

               FFL Metamorphosis

               FFL Tri-State

               Tri-State Financial

               Marc Meade


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                FFL Capital

                Twardowski Enterprises Insurance Agency LLC

                Zac Twardowski

                Orbix

                Mohamad Ali (“Mike”) Hamade

                Risen

                Zach Hart

                Valentino Kalaj

                Carl Gretz

      38.        All documents relating to the formation, membership, ownership, and initial

   capitalization of FFL Onyx.

      39.        All documents relating to the formation, membership, ownership, and initial

   capitalization of Onyx Leads Now.

      40.        All documents and communications relating to the source of leads provided,

   accessed, or used by Onyx Leads Now.

      41.        All documents and communications relating to FFL Onyx’s lead center or the

   generation of any leads by FFL Onyx, including the source of the leads.

      42.        All documents and communications reflecting or relating to any form of

   compensation, commission, bonus, reimbursement, or other payment made by FFL Onyx to

   Mohamad Raychouni, MR Financial, FFL Metamorphosis, Orbix, and/or FFL Operation

   Liberation.




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       43.     Any AIL policies, applications for AIL policies, or other documents pertaining to

   AIL policies or AIL policyholders that are in the possession, custody, or control of FFL Onyx

   or any of its agents.




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